             Case 2:21-cr-00109-wks Document 29 Filed 12/09/21 Page 1 of 1




                               UNITED STATES DISTRICT COURT
                                          FOR THE
                                   DISTRICT OF VERMONT
                                                                            2821 DEC -9 PH I: 41


UNITED STATES OF AMERICA,                             )
     Plaintiff,                                       )
                                                      )
        V.                                            )       Docket No.    d    f,. C r.,. IO q ,_)
                                                      )
JOHN GRIFFIN,                                         )
     Defendant.                                       )

                                             ORDER

        This matter having been presented to the Court by the United States of America, and the

Court having considered said motion, to protect the safety of the arresting officers and prevent

the flight of the defendant, it is hereby

        ORDERED, that the Indictment, Arrest Warrant, Motion to Seal Indictment, this Order,

and the docket sheet are hereby sealed until the arrest of the defendant.

        Dated at Burlington, in the District of Vermont, this 9th day of December, 2021.


                                                          br:J)1L
                                                      HON. KEVIN J. DOYLE
                                                      United States Magistrate Juage
